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                                                         1 H1 LAW GROUP
                                                           Eric D. Hone, NV Bar No. 8499
                                                         2 eric@h1lawgroup.com
                                                           Jill Garcia, NV Bar No. 7805
                                                         3 jill@h1lawgroup.com
                                                           701 N. Green Valley Parkway, Suite 200
                                                         4 Henderson, NV 89074
                                                           Phone 702-608-3720
                                                         5 Fax     702-703-1063

                                                         6 Attorneys for Defendants City of North
                                                           Las Vegas and Gregory Blackwell
                                                         7

                                                         8                                UNITED STATES DISTRICT COURT

                                                         9                                       DISTRICT OF NEVADA
               701 N. Green Valley Parkway, Suite 200




                                                        10 JAOUAD BOUAKKA, an Individual,                     Case No.: 2:21-cv-00601-GMN-EJY
                     Henderson, Nevada 89074




                                                        11                         Plaintiff,
                         Tel: 702‐608‐3720
H1 LAW GROUP




                                                        12         v.                                         STIPULATION AND [PROPOSED]
                                                                                                              ORDER TO EXTEND TIME TO
                                                        13 CITY OF NORTH LAS VEGAS, a political               SUBMIT STIPULATION OF
                                                           subdivision; North Las Vegas Community             DISMISSAL AND PROPOSED ORDER
                                                        14 Correction Center; Gregory Blackwell,
                                                           individually, and in his official capacity as an
                                                        15 Officer of North Las Vegas Community
                                                           Corrections Center; DOE Officers 1 through X,
                                                        16 inclusive; and ROEs 1 through X, inclusive,

                                                        17                         Defendants.

                                                        18

                                                        19         Plaintiff Jaouad Bouakka (“Plaintiff”) and Defendants The City of North Las Vegas (“the

                                                        20 City”) and Gregory Blackwell (“Blackwell” and, together, “Defendants”), collectively referred to

                                                        21 as the (“Parties”), by and through their respective counsel, hereby stipulate to extend the time set

                                                        22 forth in the Minutes of Proceedings filed November 4, 2021 (ECF 18) in which to submit the

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                                                         1 Stipulation of Dismissal and Proposed Order for a period of 14 days from the present due date of

                                                         2 December 2, 2021 to December 16, 2021. The additional time is needed to process the settlement

                                                         3 payment.

                                                         4          This Stipulation is made in good faith and is not intended for purposes of delay.

                                                         5 Dated this 2nd day of December 2021.             Dated this 2nd day of December 2021.
                                                         6 H1 LAW GROUP                                     HKM EMPLOYMENT ATTORNEYS LLP
                                                         7
                                                           /s/ Jill Garcia                                 /s/ Jennifer Foley
                                                         8 Eric D. Hone, NV Bar No. 8499                   Jennifer L. Foley, NV Bar No. 9017
                                                           eric@h1lawgroup.com                             jfoley@hkm.com
                                                         9 Jill Garcia, NV Bar No. 7805                    Dana Sniegocki, NV Bar No. 11715
               701 N. Green Valley Parkway, Suite 200




                                                           jill@h1lawgroup.com                             dsniegocki@hkm.com
                                                        10 701 N. Green Valley Parkway, Suite 200          Rex M. Martinez, NV Bar No. 15277
                     Henderson, Nevada 89074




                                                           Henderson, NV 89074                             rmartinez@hkm.com
                                                        11                                                 1785 East Sahara, Suite 300
                         Tel: 702‐608‐3720
H1 LAW GROUP




                                                           Attorneys for Defendants City of North          Las Vegas, NV 89104
                                                        12 Las Vegas and Gregory Blackwell
                                                                                                           Attorney for Plaintiff Jaouad Bouakka
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                                                        15          IT IS SO ORDERED.
                                                        16

                                                        17

                                                        18                                               UNITED STATES
                                                                                                         UNITED STATES DISTRICT JUDGE
                                                                                                                       MAGISTRATE   JUDGE

                                                        19                                               DATED:_______________________
                                                                                                         Dated: December 3, 2021
                                                             Prepared and submitted by:
                                                        20
                                                             H1 LAW GROUP
                                                        21

                                                        22
                                                           /s/ Jill Garcia
                                                        23 Eric D. Hone, NV Bar No. 8499
                                                           eric@h1lawgroup.com
                                                        24 Jill Garcia, NV Bar No. 7805
                                                           jill@h1lawgroup.com
                                                        25 701 N. Green Valley Parkway, Suite 200
                                                           Henderson, NV 89074
                                                        26
                                                           Attorneys for Defendants City of North
                                                        27 Las Vegas and Gregory Blackwell

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